       Case 23-13359-VFP           Doc 1185 Filed 07/05/23 Entered 07/05/23 15:56:50                      Desc
                                     Hearing on BK Case Page 1 of 1
Form ntchrgbk

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 23−13359−VFP
                                          Chapter: 11
                                          Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Bed Bath & Beyond Inc.
   650 Liberty Avenue
   Union, NJ 07083
Social Security No.:

Employer's Tax I.D. No.:
  11−2250488

                                              NOTICE OF HEARING



PLEASE TAKE NOTICE that a hearing will be held at

Courtroom 3B, Martin Luther King, Jr. Federal Building, 50 Walnut Street, 3rd Floor, Newark, NJ 07102

on 7/11/23 at 02:30 PM

to consider and act upon the following:


495 − Motion for an Order Confirming Automatic Stay is Not in Effect Filed by David Graff on behalf of Telegraph
Marketplace Partners II, LLC. Objection deadline is 6/6/2023. (Attachments: # 1 Application # 2 Exhibit # 3
Certificate of Service # 4 Affidavit) (Graff, David)




Dated: 7/5/23

                                                           Jeanne Naughton
                                                           Clerk, U.S. Bankruptcy Court
